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                                                         August 28, 2023

VIA ECF

The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
United States Courthouse
500 Pearl Street
New York, New York 10007

         Re: United States v. Samuel Bankman-Fried, S6 22 Cr. 673 (LAK)

Dear Judge Kaplan:

       On behalf of our client, Samuel Bankman-Fried, we write in advance of the conference
on August 30, 2023, to object to yet another massive eleventh-hour production of discovery from
the Government.

        On Friday, August 25, 2023, the Government emailed the defense a cover letter stating
that it would be producing approximately 3.7 million pages of discovery from various sources.
The defense received these documents today. That is in addition to the roughly 4 million pages
of discovery that we received from the Government on Thursday, August 24. That means that
the Government has produced a total of roughly 7.7 million pages to the defense in the last few
days.

        This is just one more example of the Government violating the discovery schedule that it
promised the Court it would follow. As set forth in our letter of August 25, 2023, the
Government should not be permitted to dump huge volumes of discovery this close to trial,
especially when Mr. Bankman-Fried has no practical ability to review them given the conditions
of his confinement. Mr. Bankman-Fried still has no way to review discovery at the MDC, nor
has he received the hard drive we sent to the MDC roughly a week ago that contains his work
product and selected discovery documents. Mr. Bankman-Fried cannot meaningfully prepare his
defense under these circumstances.

       For the reasons set forth in our motions in limine, ECF No. 206, the Government should
be precluded from using any evidence from these two productions at trial.
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The Honorable Lewis A. Kaplan
August 28, 2023
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                                            Respectfully submitted,


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  cc:   All counsel of record (via ECF)
